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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-21826-CIV-SCOLA


  FRIDA KAHLO CORPORATION, a
  Panamanian corporation, and FRIDA
  KAHLO      INVESTMENTS,    S.A., a
  Panamanian corporation,

                           Plaintiff,

  vs.

  MARA CRISTINA ROMEO PINEDO, an
  individual, and MARA DE ANDA ROMEO,
  and individual.

                           Defendant.

  _____________________________________                /

          PLAINTIFFS’ STATUS REPORT REGARDING SERVICE OF PROCESS

         Plaintiffs, through their undersigned counsel, provide the following status report. On July

  9, 2018, this Court issued its Order Granting Motion for Enlargement of Time to Effectuate Service

  (ECF No. 13). Pursuant to the Order, this case has been stayed and administratively closed during

  the pendency of service. Plaintiffs here inform the Court that the petition of service has been

  received by the legal authorities in Mexico and assigned to the “Tribunal de Justicia de la Ciudad

  de Mexico” for service on the defendants. Once service has been effectuated, Plaintiffs will inform

  the Court in writing so that the stay may be lifted and the case may be reopened.


  Dated: January 9, 2019                               Respectfully submitted,

                                                  By: s/Roberto M. Suarez/
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